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                               UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA


 MISTY SNOW, et al.,                                 Case No. 21-cv-03269-VC
                Plaintiffs,
                                                     ORDER TO SHOW CAUSE
         v.
                                                     Re: Dkt. Nos. 60, 73
 ALIGN TECHNOLOGY, INC.,
                Defendant.



       It appears that none of the references in the complaint or briefs to the Supply and

Operating Agreements should be sealed. Nor is it clear why any portion of the agreements

themselves should be sealed. Any party who objects to the unsealing of the complaint, briefs, and

the Supply and Operating Agreements shall file any objection by Friday, January 28, 2022. Align

Tech is ordered to serve this order on all relevant parties, including all parties to the Supply and

Operating Agreements.
       IT IS SO ORDERED.

Dated: January 3, 2022
                                               ______________________________________
                                               VINCE CHHABRIA
                                               United States District Judge
